                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                           Civil Action No. 5:19-cv-25-FL

 Robert McGuire,



                                      Plaintiff,
 v.                                                                   Order


 LORD Corporation,


                                   Defendant.


       THIS MATTER is before the Court on Plaintiff’s Motion for leave to Amend his

Complaint. Having considered such Motion, it is hereby granted.

       IT IS HEREBY ORDERED that Plaintiff’s proposed Amended Complaint shall be

docketed by the clerk and shall be deemed served on the date it is entered on the docket.




       This, the ______ day of _________, 2019,




                                                    ____________________________________
                                                    The Honorable Louise W. Flanagan




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